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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
FORT LAUDERI)ALE DIVISION
Case No. 09-60276 CIV-COHN/SELTZER

DHL EXPRESS (USA), INC.,
an Ohio corporation,

Plaintiff,
vs.

EXPRESS SAVE INDUSTRIES, INC., a New
York corporation, JOHN DOES l-SO,
et al.
Defendants.
/

DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION TO COMPEL APPEARANCE
OF DEFENDANT EXPRESS SAVE INDUSTRIES, INC. AT DEPOSITION

Defendant EXPRESS SAVE lNDUSTRlES, TNC. (“ESI” or “Defendant”), by and through
undersigned counsel, and pursuant to Rule 26(b)(2)(C) of the Federal Rules of Civil Procedure,
hereby opposes Plaintift`s Motion to Compel Appearance of Defendant Express Save lndustries,
Inc. at Deposition and, in support thereof, states as follows:

On August 26 and 27, 2009, DHL took the deposition of three of ESI’s employees Those
depositions included all three of the individuals employed by ESI that have any personal
knowledge of the issues raised in this lawsuit. John Abdo, the sole owner and manager of this
closely-held company, was deposed for the allotted seven hours; the other individuals were deposed
for another complete day. John Abdo is the individual within ESI’s organization who has
knowledge concerning the issues in this case. [See Abdo Decl. at 1 '7]l

Only days after the August 26 and 27 depositions, on September 3, 2009, DHL served ESI

with a corporate representative deposition notice, unilaterally scheduling ESI’s deposition to occur

 

’ The Declaration of John Abdo is annexed hereto.

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on September 16, 2009. The sole witness for ESI to produce in response to the deposition notice is
Mr. Abdo, whose deposition time has already been exhausted [See Abdo Decl. at il‘[[ 2, 6-7; see
yalso Fed. R. Civ. P. 30(d)] John Abdo, both personally and in hisicapacity as president and sole
shareholder of ESI, has agreed to adopt the testimony taken of him in his individual capacity as the
testimony of ESI. [Id. at 1[ 10]

A. Mr. Abdo’s Declaration, Which Adopts his Personal Testimony as that of the
Closely-Held Corporation, Renders the Need for a Deposition of ESI Moot

A number of cases have indicated that in the case of closely-held corporations, the
knowledge of an individual concerning a particular subject may also constitute the total knowledge
of the entity. Sabre v. Firsl Dominion Capital, L.L.C., 2001 U.S. Dist. LEXIS 20637 (S.D.N.Y.
2001); see also A.I.A. Hola’z'ngs, S.A. v. Lehman Brothers, Inc., 2002 U.S. Dist. LEXIS 9218
(S.D.N.Y. 2002). “In such a situation, the witness could simply adopt the testimony he or she
provided in a former capacity, thereby obviating the need for a second deposition.” Id. ln this
case, Mr. Abdo, through the Declaration annexed hereto and submitted herewith, has adopted his
prior testimony as that of ESI, the closely-held defendant corporation in this case. [See, e.g. Abdo
Decl. at 11 lO]

Moreover, the courts have indicated that “if the questioning is being conducted in an
oppressive manner, the aggrieved party can make application for a protective order."` Sabre, 200l
U.S. Dist. LEXIS 20637 at * 4. In this case, this closely-held corporation has already had all three
of the employees with any knowledge of the circumstances concerning this litigation deposed And
DHL has already taken the deposition of the only individual who would provide all of the
testimony sought under the 30(b)(6) notice. [See, e.g. Abdo Decl. at 11 7] Asking Mr. Abdo to sit a l

second time for a deposition, within just a couple of weeks of his initial deposition, smacks of

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harassment, would be unfair, and constitutes a burden that neither Mr. Abdo nor ESI should be
forced to carry.

`The decision in Provide Commerce, Inc. v. Preferred domaierce, Inc., 2008 WL 360588
(S.D. Fla. 2008), a case heavily relied upon by DHL, is distinguishable from the instant action The
Preferred Court held that the testimony of a company’s officer did not constitute testimony of the
company. ln Preferred, though, there is no indication that the company was closely-held, or that
the president-deponent had adopted his testimony as that of the corporation In Preferred, the
Court’s holding was based upon the fact that the corporation had “yet to testify.” [d.

This case, on the other hand, does concern a closely-held corporation [Abdo Decl. at 11 l]
And in this case, the president and sole shareholder has expressly adopted the testimony that he has
already provided, as that which would be provided on behalf of the corporation Thus, this Court
should adopt the reasoning applied in the aforementioned Sabre and A.I.A. Holdz`ngs cases, as
articulated herein above.

B. Fed. R. Civ. P. 26(B)(2)(C) Provides Protections For These Precise
Circumstances

Fed. R. Civ. P. 26(b)(2)(C) instructs Courts to limit the frequency and extent of discovery
under precisely the same circumstances which are present in this action See, e.g. Fed. R. Civ. P.
26(b)(2)(C). The express purpose of this rule is to “guard against redundant or disproportionate
discovery.” Peacock v. Merrz'll, 2008 U.S. Dist. LEXIS 13598 (S.D. Ala. 2008). In fact, the
circumstances which are present here meet the three instances proscribed in Fed. R. Civ. P.
26(b)(2)(C), in which discovery should be limited.

The first such instance is when “the discovery sought is unreasonably cumulative or
duplicative.” Fed. R. Civ. P. 26(b)(2)(C)(i). As articulated in his Declaration and herein above,

John Abdo is the sole owner and president of ESI, and DHL has already taken his deposition In

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fact, Mr. Abdo, as president of ESI, has adopted his personal testimony as that of the corporation
As such, another deposition of Mr. Abdo would simply be unreasonably cumulative or duplicative

The second such instance is when “the party seeking discovery has had ample opportunity
by discovery in this action to obtain the information sought.” Fed. R. Civ. P. 26(b)(2)(C)(ii). DHL
had every opportunity to ask every question that was reasonably calculated to lead to the discovery
of admissible evidence, and ESI met its obligation in responding accordingly Now, after al;ready
receiving a complete day of Mr. Abdo’s testimony (and that of ESI- now that such testimony was

` adopted by ESI), DHL wants its “second bite at the apple.” DHL impermissibly seeks to make an
end run around Fed. R, Civ. P. 30(d), which limits depositions to one day and seven hours.

Lastly, discovery must be restricted when “the burden or expense of the proposed discovery
outweighs its likely benefit, taking into account the needs of the case.” Fed. R. Civ. P.
26(b)(2)(C)(iii). Mr. Abdo’s knowledge constitutes the total knowledge of ESI on those matters
noticed for deposition by DHL. Thus, deposing Mr. Abdo for a second time will not confer any
likely benefit, but it will impose the significant burden and expense of additional, unnecessary, and
duplicative depositions in this matter. [Abdo Decl. at jj ll]

Furthermore, permitting DHL to impose this additional burden on ESI will contravene Fed.
R. Civ. P. l, which instructs courts to interpret the rules of civil procedure in a manner that secures
a just and inexpensive determination of the action

WHEREFORE, for the foregoing reasons, ESI respectfully moves this Court to deny
Plaintiffs Motion to Compel Appeai'ance of Defendant Express Save lndustries, Inc. at Deposition

and grating such other and further relief as this Couit deems appropriate

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CERTIFICATE OF SERVICE

WE HEREBY CERTIFY that on this date, we electronically filed the foregoing Motion
with the Clerk of the Court using CM/ECF. We also certify that the foregoing document is being
served this day on all counsel of record or pro se parties identified on the attached Service List in
the manner specified, either via transmission of Notices of electronic Filing generated by Cl\/l/ECF
or in some other authorized manner for those counsel or parties who are not authorized to receive
electronically Notice of Electronic Filing.

By: /s/K. BRIAN ROLLER
K. BRIAN ROLLER

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UNITED S'I`ATES DISTRICT COURT
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Case No. 09-60276 CIV-COHN/SELTZER

DHL EXPRESS (USA), INC.,
an Ohio corporation,

Plaintiff,
vs.

EXPRESS SAVE INDUSTRIES, INC., a New
York corporation, JOHN DOES 1-50,
et al.
Defendants.
/

 

DECLARATION OF J()HN ABDO IN SUPPGRT OF
EXPRESS SAVE INDUSTRIES, INC.’S
OPPOSITION TO MOTION T() COMPEL 30(b)(6) DEPOSITI()N

Pursuant to 28 USC § 1746, the undersigned states as follows:

1. l am the president and sole shareholder of Express Save Industries, lnc.
(“ESI”), the closely-held corporation that is the defendant and counterclaim plaintiff in
this matter. 1 have personal knowledge of the matters set forth in this declaration, and if
called to testify as to these matters, l could do so competently l submit this declaration
in opposition to DHL Express Save USA, Inc.’s motion to compel appearance of ESI at
deposition

2. On August 26, 2009, 1 sat for my deposition in this matter for an entire
day.

3. Thereafter, on August 27, 2009, Carole Stodgell and Jessica Hulett, both

employees of ESI, sat for their respective depositions for the entire day. 1 witnessed each

of their depositions in its entirety.

 

 

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4. ` As 1 understood, counsel for DHL Express (USA), Inc. (“DHL”) had the
opportunity to ask all of the questions to which DHL hoped to elicit answers

5. Only days after my deposition, DHL servedwnotice of the deposition of
ESI, with various topics attached thereto.

6. 1 have reviewed the subject 30(b)(6) notice that was served in this matter.

7. Based upon my review of the matters listed in the 30(b)(6) notice, 1 am the
only individual within the ESI organization who has any knowledge concerning such
matters

8. 1 was questioned about the matters listed in the notice, and provided the
very same testimony that would have been provided by ESI.

9. To the extent that any matters were not covered in my deposition, it was
simply because DHL’s counsel failed to inquire about such matters DHL certainly had
every opportunity to inquire about every matter listed in connection with the 30(b)(6).

lO. 1n any event, as president of ESI, 1 agree to permit the parties to adopt the
testimony that 1 provided in my personal capacity as the testimony that would have been
provided on behalf of ESI, in a 30(b)(6) deposition

11. Moreover, 1 believe it is imperative to note that this litigation has placed a
tremendous burden on my closely-held corporation 1 believe that this additional
deposition is intended both to continue to make this litigation an undue burden on my
business and my affairs, as well as to afford DHL an opportunity to take my deposition a

second time.

 

 

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12. 1 also understh that DHL does not complain that 1, or any of ESI’s

employees, refused to provide answers to questions that must be provided on behalf of

Esi. f ~~

13. Rather, we were cooperative, and provided responses to everything asked _
of us. To the extent DHL failed to cover certain topics with me at my deposition neither

1 nor ESI, should be forced to carry the additional and undue burden of additional

depositions

Executed this 25 day of September.

M»%%>
y Abdo

 

